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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS


WARREN BERES,ETAL.,

     Plaintiffs,                                         Nos.03-785L,0+1456L,O4-I45TL,     M-
v.                                                       1458L,04-1459L,O4-I463L,04-1465L,    04-
                                                         1466L,04-1467L,0+1468L,04-t469L,04-
THEUNITED STATESOF AMERICA.                              | 47tL, O4-t472L, O+l 473L, 0+t 474L

                   Defendant.                            IfonorableMarian BlankHorn




                                 Drctazu^nol.toFPAMBnnnnrr
1.      I am the daughter of Plaintiff Donald Barrett rn Collirs u. UnitedStates,caseno. 04-7472L,

     consolidated with Bazs a. UnitedStates,caseno. 03-785L. I am the Attomey in Fact for my father

     in this matter. (SeeEx. A, hereto) My father has some memoriesof the property that is the

     subjectof this lawsuit,but his memory is fading.The subjectproperty had been owned by
                                                                                           -y
     parents when I grew up and the below facts are basedon my personal knowledge and belief.


2.      My father and mother,JeannetteBarrett (deceased),
                                                       owned a property in Lake Sammamish

     that is the subiectof disputein this partial summaryjudgment proceeding.They purchasedthe

     property from Rose Earleyin 1961.(SeeEx. B, 1961Deed, hereto.)The property was

     subdividedin 2008 into two parcelsand thoseparcelswere sold in 2015.The south parcelwas

     sold to Chuck Yoong Chan and Mei-Chin Tsai. The north parcelwas sold toJyotirmoy Paul.


3.      When my parentsbought the property in 1961,my impressiongrowing up was they

     understood that they were buying lake-front propefty that extended from Lake Sammamishto

     the East Lake SammamishParkway and that the property had an easementon it for the railroad

     to use so long as there were trains to run. That was my family's belief and, as far asI could

     understandit basedon our neighbors'improvementsof their own properties,including theit

     gardeningand other usesof the right of way, that was the common belief of the owners on Lake




                                                                                                     Ex. 15-1
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      Sammamishboth north and south of my family's property. As far as I know, no one other than

      King County has ever claimed we didnt own the full right of way as part of the Barrett properry.

      And King county didn't daim to own it until after the rail-trail conversion.


4.        Consequendy,ve treatedthe right of way no differently from the rest of our properry.

      Beginning in late 1982, upon retirement in Washington Sate, my father, Don Barrett, and our

      family beganregular,ongoing useof our beachproperty listed asTax l-at202506-9041.Dudng

      this time period, the property was zoned as "Open Space"by King County therebyrestricting

      the amount of landscapingor improvements that courd be done to our propertlr in order to

      enhancethe "Open Space."


5.       My family's overall us€e on the right of way included but was not limited to the following:

     Stream manag€ment since 1982(SeeEx. C, AdversePossessionMap (Ap Map), areasD, F, G,

     and FI) - throughout the yearwe cleatedstreamsof silt, maintainedthe streampath, and cleared

     upland ditchespardlel to the rail bed; Property management since 1982(Su id.,arcasA and

     C) - year round, we mainained the accessroad/parking area,managed,weeds,
                                                                            removed leaves,
     maintained a park-like setting, performed tree management(pruning, removal of dead or

     dangeroustrees),harvestedfirewood from downed treesfor campfiresand residendalwood

     fires, createdmulch from leaf and tree debris; In the Spdng, we prepared for upcoming

     Summer fatrily/fiends events(Annual Family 4th ofJuly Picnic,Youth Camping etc), where

     we installed tarPs over family built picnic ables using trees within the right of way, setup a hand

     washingsation near the accessroad, set out seating,and setuphammock chair tigging;

     Instdlation of Salmon Fishery rfi1994 (Seeid.,areasH rtdl; seealsoEx.D, Hydraulic project

     Approval) -ln 1994we built a water-holdingpond at the mouth of the culvert on the north end

     of our Property (SuEx. C, AP Map, areaD,           installedpipes and barrelsdownstreamfrom the
                                                    "nd
     culvert (Seeid., areaFI) for the incubation of SalmonEggs,Alevins, and Fry. Once hatchedfrom

     the upper barrel, they would swim to the next downstream barrel and then into Lake

     Sammamish;Planting of vegetation throughout property (seeid,areas E, B, and




                                                                                                           Ex. 15-2
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   crosshetches)- Becauseof the "Opeo Spu""" rcstrictiorl we uref,elimited as to the amount of

   landscapingthat could be done but we prefered to keep the areanaturd and perk-like io aoy

   case.We were perrritted to plant holly to inhibit uespassing and randomly plant rhododen&on,

   roses,ivy, and native cedar trees thouglrout the property as is reflected by the crosshatcheson

   theAPivfap (9".9.


       As to the steep slope to the easgbetween the rail bed and East Lake SammamishParlway

   NE, usagewas limited becauseof the topography butwe were able to clear ditchcs for the

   maintenanceof stream flow. (Sa id", areaD).


   I dedare under pendty of pedury that the foregoing satemeom aaetnre and correct to the best
                                                        n{
of my knowledge. This declantion was executd on this         dT ofJanuary, 2018.
                                                        ^v




                                                                                                     Ex. 15-3
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WhenRecordedreturnto:

CharlesN. Mullavey
Mullavey,Prout,Grenley& Foe
P.O.Box 70567
Seattle,
      WA98127


                            SPECIAL DURABLE POWER OF ATTORNEY

PRINCIPAL:                       DONALD W. BARRETT

ATTORNEYIN FACT: PAMELA L. BARRETT

        I, DONALD W. BARRETT (the"Principal"),domiciledin WashingtonState,designate
PAMELA L. BARRETT as my Attorney in fact, but limited to all mattersconcerningWarren
BeresandVicki Beres,et al. vs. UnitedStates,    Nos.03-785L,04-I456L,04-1457L,04-1458L,
04-t459L,04-1463L,04-t465L,04-t466L,04-t467L, 04-t468L,04-t469L, 04-t47lL, 04-
1472L,04-1473L,04-1474L      andany additionallitigation,settlement,mediation,arbitration,or
other legal proceedingrelatingthereto. If for any reasonPAMELA L. BARRETT becomes
unableor unwillingto actasAttorneyin fact,thenROBERT J. BARRETT is designated         asmy
alternate Attorneyin fact,but limitedto all mattersconcerning
                                                            WarrenBeresandVicki Beres,et
al. vs. UnitedStates, Nos.03-785L,04-1456L,04-1457L,04-1458L,       04-1459L,04-1463L,04-
t465L, 04-1466L,04-1467L,04-1468L,       04-1469L,04-147IL,04-1472L,    04-t473L,04-1474L
andanyadditionallitigation,settlement,                       or otherlegalproceeding
                                        mediation,arbitration,                      relating
thereto.

     1. Effectiveness.
                    This SpecialDurablePowerof Attorneyshallbecomeeffective
immediately.

       2. Duration. This SpecialDurablePowerof Attorney shall remainin effect,to the
extentpermitted by I1.94of theRevisedCodeof Washington, untilrevoked.I intendthisPower
of Attorneyshall not be affectedby my disability. "Disability"shall includethe inability to
managepropertyand affairseffectivelyfor reasonssuchas mentalillness,mentaldeficiency,
physicalillnessor disability,or advanced
                                       age.

       3. Powers.My Attorneyin fact,shallhavethe followingpowersregardingall matters
concerning WarrenBeresandVicki Beres,et al. vs. UnitedStates,Nos.03-785L, 04-I456L,04-
r457L,04-1458L,04-t459L,04-1463L,04-1465L,04-1466L,      04-t467L,04-r46gL,04-r46gL,
04-147lL,04-1472L,04-1473L,04-1474L     andany additionallitigation,settlement,
                                                                             mediation,
           or otherlegalproceeding
arbitration,                     relatingthereto.
                                            -l
CNM:seo/SPOA/Donald W. Barretl




                                                                                     Ex. 15A-1
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               A. Claims Against Principal. To pay, settle,compromiseor otherwisedischarge
any and all claims of liability or indebtednessagainstthe Principal and, in so doing, use any of
the Principal'sfunds or other assetsor use funds or other assetsof the Attorney in fact and obtain
reimbursementout of the Principal'sfunds or other assets.

                B. Legal Proceedings. To participate in any legal action in the name of the
Principal or otherwise. This shall include actions for attachment, execution, eviction,
foreclosure,indemnity and any other proceedingfor equitable or injunctive relief, and legal
proceedingsin connectionwith the authority grantedin this instrument. My Attorney in fact is
specifically authorizedto deal with the law firm of the attorneyat law who drafted this Durable
Power of Attomey, and I hereby waive my client-attorneyprivilege with this firm in order to
allow this firm to deal with my Attorney in fact.

                C. Written Instruments. To sign, seal, execute, deliver and acknowledgeall
written instrumentsand do and perform each and every act and thing whatsoeverwhich may be
necessaryor proper in the exerciseof the powersand authority grantedto the Attorney in fact as
fully as the Principal could do if personallypresent.

                D. Disclaimer. To disclaimany interest,as definedin Chapter11.86.010of the
RevisedCode of Washington,in any property to which I would otherwisesucceedand to decline
to act or resign if appointedor servingas an officer, director,executor,trusteeor other fiduciary.

       4. Limitations on Powers. Except for the authority specifically statedin paragraph3,
my Attorney in fact shall not have any powers.

      5. Accountins. My Attomey in fact shall be required to account to any subsequently
appointedpersonalrepresentative.

       6. Reliance. The designatedand acting Attorney in fact and all personsdealingwith the
Attorney in fact shall be entitled to rely upon this Power of Attorney, so long as neither the
Attorney in fact nor any personwith whom the Attorney in fact was dealing at the time of any
act taken pursuantto this Power of Attorney, had receivedactual knowledge or actual notice of
any revocation, suspension,or termination of this Power of Attorney, by death or otherwise.
Any action so taken, unless otherwise invalid or unenforceable,shall be binding on my heirs,
devisees,legatees,or personalrepresentative.

         7. Indemnity. My estateshall hold harmlessand indemnify the Attorney in fact from all
liability for actsor omissionsdone in good faith and not in fraud or grossnegligence.

         8. Revocation.

              A. This Special Durable Power of Attomey may be revoked, suspended,or
terminated by written notice from me to the designatedAttorney in fact and, if this power has
been recorded,by recordingthe written instrumentof revocationwith the King County Auditor
in the RecordsSection,King County,Washington.


                                          - 2-
CNM :seo/SPoA"/DonaldW. Banett




                                                                                              Ex. 15A-2
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         9. Termination.

              A. By Guardian. The appointment of a guardian of my estate vests in the
guardian, with court approval, the power to revoke, suspend, or terminate this Power of
Attorney. The appointment of a guardian of the Persononly, shall not empower the guardian to
revoke, suspendor terminate this Power of Attorney.

              B. By Death of Principal. My death shall be deemed to revoke this Power of
Attorney upon actual knowledge or actual notice being received by the Attorney in fact.

        10.Execution.This SpecialDurablePowerof Attorneyis signedthis               t1V     dayof
       vl.)n .t    ,2010,to becomeeffectiveasprovidedin Paragraph  1.
                J
                                                        ./)              .   ,4
                                                      (/"-.(      /u.,lA---
                                                     DONALD W. BARRETT

Domiciled and residingat:                            2920F. Lake SammamishPkwy N.E.
                                                     Sammamish,Washington98074




STATE OF WASHINGTON )
                                 ) ss.
COUNTY OF KING                   )

       On this day personally appearedbefore me DONALD W. BARRETT to me known to
be the individual described in and who executed the within and foregoing instrument, and
acknowledgedthat he signed the same as his free and voluntary act and deed, for the uses and
purposestherein mentioned.
                                                         .
         GIVEN under my hand and official seal this      I -\-I day of




                                                      ARY PUBLIC in and for the Stateof
                                                Washington.
                                                Printedname:       SarahE. Ondrak
                                                My CommissionExpires: J -, l- 11




                                              - 3-
CNM: seo/SPOA/Donald W. Banett




                                                                                                 Ex. 15A-3
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                                                                           Ex. 15B-1
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                                                                                              A) Access Road.
                                                                                              B) Garden.
                                                                                              C) Wood pile storage.




                                                                                                                                                               90
                             EA
                                                                                              D) Cleared drainage ditches after storms.

                                 ST
                                                                                              E) Rhododendron planted by late Mrs. Barrett.

                                        LA
                                                                                              F) Cleared culverts and water runoff on train

                                            K
                                              E




                                                                                                                                         80
                                                   SA
                                                                                                 tracks from silt and debris.

                                                     M
                                                                                              G) Maintained stream and water flow by

                                                        M
                                                             A




                                                                                                                                                                                              100
                                                             M
                                                                                                 clearing debris and overgrown plants; used




                                                                                                                          70
                                                                  IS
                                                                    H
                                                        60                                       bobcat on occasion.

                                                                   PK
                                                                                              H) Maintained stream and water flow by
                                                                     W
                                                                        Y
                                                                                                 clearing debris and overgrown plants;
                                                                             NE
                                                                                                 Installed pipes and barrels along with
                                                   50




                                40
                                                                                                 Salmon fishery.
                                                    F                                         I) Holding pond for Fishery.
                                                    I                                         Crosshatch) Cedar trees, ivy and holly were
                                                                                                 planted for ground cover.
                                                                        E
                             H                                              Lk
                                                                                 Sa
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                                                                                                                          9041




                                                                                                                                                             C
                                                                                                                                                                             A
                                                                                                                                                                        B




                                                                  ±
                                                                                                                                          Date: 1/23/2018; Created by: Sav annaN.   Data Source:
                                                                        Ackerson, Kauffman, Fex, PC GIS
                            0               37.5             75                                         data provided by King County and the City of Sammamish (2017).
                                                                                                    Exhibit features are conceptually designed and no exact location shall
                                                                                                                                          be assumed. Careful techniques are used in displaying GIS data, yet
                                     1 inch = 75 feet                                 E Lake Sammamish ROW                                ESM cannot guarantee accuracy of information conveyed on this map.




                                                                                                                                                                                                   Ex. 15C-1
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                                                                    Ackerson, Kauffman, Fex, PC GIS
                             0            37.5           75                                          data provided by King County and the City of Sammamish (2017);
                                                                                                Aerial Imagery provided by Aerial Express (2012). Although careful

                                  1 inch = 75 feet                       2012 Aerial Imagery    techniques are used in creating and displaying GIS data, ESM cannot
                                                                                                guarantee accuracy of information conveyed on this map.




                                                                                                                                                                          Ex. 15C-2
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                                                                                   King County, Washington State Department of Natural
                                                                                   Resources



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                                                                   Ackerson, Kauffman, Fex, PC GIS
                             0            37.5           75                                         data provided by King County and the City of Sammamish (2017);
                                                                                               Aerial Imagery provided by King County (1998). Although careful

                                  1 inch = 75 feet                      1998 Aerial Imagery    techniques are used in creating and displaying GIS data, ESM cannot
                                                                                               guarantee accuracy of information conveyed on this map.




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                                                                   Ackerson, Kauffman, Fex, PC GIS
                             0            37.5           75                                         data provided by King County and the City of Sammamish (2017);
                                                                                               Aerial Imagery provided by USGS (1990). Although careful

                                  1 inch = 75 feet                      1990 Aerial Imagery    techniques are used in creating and displaying GIS data, ESM cannot
                                                                                               guarantee accuracy of information conveyed on this map.




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